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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                        )                      4:06cr3016
                        )
    Plaintiff,          )
                        )                      NOTICE OF FILING OF MOTION
vs.                     )                      UNDER 28 U.S.C. § 2255
                        )
ARMANDO GARCIA-DELACRUZ )
                        )
    Defendant.          )


       The United States Attorney is notified of the filing on March 17, 2008, of a
motion under 28 U.S.C. § 2255 to vacate, set aside, or correct sentence by a person
in federal custody, filing 154. The United States shall have until April 25, 2008, in
which to respond.

      Dated March 18, 2008.

                                BY THE COURT

                                s/ Warren K. Urbom
                                United States Senior District Judge




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